Case 1:04-cv-01815-LJM-JMS            Document 365         Filed 12/20/07      Page 1 of 6 PageID #:
                                             4426



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 CINDY LANDEEN,                             )
      Petitioner/Counterclaim Defendant,    )
                                            )
       vs.                                  )                1:04-cv-1815-LJM-WTL
                                            )
 PHONEBILLIT, INC. and                      )
 MIRROR MEDIA COMPANY,                      )
       Respondents/Counterclaim Defendants, )
 _______________________________________)
 STEVEN V. SANN,                            )
       Respondent/Intervenor/Counterclaim   )
       Plaintiff,                           )
                                            )
       vs.                                  )
                                            )
 NEIL LUCAS,                                )
       Respondent/Intervenor/               )
       Counterclaim Defendant.              )

                                               ORDER

        This cause is now before the Court on respondent/intervenor/counterclaim defendant’s, Neil

 Lucas (“Lucas”), Motion to Dismiss and/or for Judgment as a Matter of Law (Docket No. 347),

 Lucas’ Motion for Summary Ruling on Motion for Involuntary Dismissal and/or Judgment as a

 Matter of Law (Docket No. 362), and respondent/intervenor/counterclaim plaintiff’s, Steven V. Sann

 (“Sann”), Motion for Leave of Court to file his Response in Opposition to Lucas’ Motion to Dismiss

 and/or for Judgment as a Matter of Law (Docket No. 364) one day late.

        The Court cannot see any harm in allowing Sann to file his Response in Opposition to Lucas’

 Motion to Dismiss and/or for Judgment as a Matter of Law one day late. Sann’s Motion is

 GRANTED. Because the Motion was actually filed as a Response, the Court shall not have the

 docket corrected, rather the docket entry for this Order shall reflect that Sann’s Motion for Leave was
Case 1:04-cv-01815-LJM-JMS             Document 365         Filed 12/20/07      Page 2 of 6 PageID #:
                                              4427



 granted and that the Response was deemed filed on December 19, 2007. Lucas’ corresponding

 Motion for Summary Ruling on Motion for Involuntary Dismissal and/or Judgment as a Matter of

 Law (Docket No. 362) is DENIED.

        However, resolution of those motions in Sann’s favor does not help him defeat Lucas’

 Motion to Dismiss and/or Judgment as a Matter of Law. The Court concludes that it was error to

 allow Sann’s malpractice claim against Lucas to proceed without an expert to testify to the standard

 of care; the Court cannot act as an expert on the standard of care and the matters raised by Sann’s

 malpractice claim against Lucas is the subject for which a lay person would need an expert opinion.

 According to the Seventh Circuit, a judge may not decide lawsuits based on their independent

 knowledge of facts. Bonhiver v. Rotenberg, Shwartzman Richards, 461 F.2d 925, 928-29 (7th Cir.

 1972). Although Bonhiver was a case decided under Illinois law, the principle that underlies the

 Bonhiver decision is common to Indiana law: a decision made on facts determined from evidence

 not in the record is a denial of due process. See Hardin v. Indiana, 260 Ind. 501, 502-03, 296 N.E.2d

 784, 784-85 (1973) (stating that the use of information not received in evidence at trial to bolster in-

 court testimony on the question of guilt violates due process, in part, because it deprives a defendant

 of the ability to test assertions through cross-examination); R.D.I. v. K.C.K., 539 N.E.2d 968, 968-69

 (Ind. Ct. App. 1989) (stating that evidence necessary to a judgment must come before the Court

 during trial, otherwise the adverse party would not have the opportunity to confront and cross-

 examine a witness); Riley v. Wegner, 404 N.E.2d 1189, (Ind. Ct. App. 1980) (reaffirming the rule

 that “it is reversible error for a court to base a judgment upon information obtained by extra-judicial

 inquiry either by the judge or someone on his behalf” (quoting Kessler v. Willston, 117 Ind. App.

 690, 692, 75 N.E.2d 676, 677 (1947)). Therefore, if expert testimony is required to establish the


                                                    2
Case 1:04-cv-01815-LJM-JMS           Document 365         Filed 12/20/07       Page 3 of 6 PageID #:
                                            4428



 standard of care for Sann’s malpractice case against Lucas under Indiana law, then the Court cannot

 act as its own expert because it would require the Court to consider facts not in evidence.

        In Indiana, “expert testimony is usually required in a legal malpractice action to establish the

 standard of care by which the defendant attorney’s conduct is measured.” Oxley v. Lenn, 819 N.E.2d

 851, 857 (Ind. Ct. App. 2004). However, “[t]here is no need for expert testimony when the question

 is one within the common knowledge of the community as a whole or when ‘an attorney’s

 negligence is so grossly apparent that a lay person would have no difficulty in appraising it.’”

 Hacker v. Holland, 570 N.E.2d 951, 953 n.2 (Ind. Ct. App. 1991) (quoting Barth v. Reagan, 564

 N.E.2d 1196, 1200 (Ill. 1990)), reh’g denied. Sann contends that the issues raised by his malpractice

 claim against Lucas are such that expert testimony is not required, and that the Court so found. In

 addition, Sann argues that the Indiana Rules of Professional Conduct provide sufficient evidence of

 the applicable standard. The Court disagrees with both of Sann’s arguments.

        First, the Court did not conclude that expert testimony on the standard of care was not

 needed; rather, improperly, the Court concluded that it already knew the standard of care from its

 own experience and, therefore, expert testimony on the subject was unnecessary. The test is whether

 or not the standard is within the common knowledge of the community as a whole. The Court

 cannot agree with Sann that his allegations against Lucas vis-a-vis the creation of PhoneBILLit, Inc.

 (“PBI”), the reasonableness of Lucas’ fee, and the propriety of representing and/or engaging in

 business enterprises with other clients with interests adverse to Sann, are matters for which the

 community at large has common knowledge. Moreover, the Court cannot agree that the existence

 of the Indiana Rules of Professional Conduct establish those standards. Lawyers are required to take




                                                   3
Case 1:04-cv-01815-LJM-JMS            Document 365        Filed 12/20/07     Page 4 of 6 PageID #:
                                             4429



 entire courses to understand the application of those Rules. A juror cannot be expected to interpret

 those rules without expert testimony thereon.

        To the extent that Sann contends that Lucas waived this argument by not raising it as a

 motion to reconsider under Federal Rule of Civil Procedure 59 (“Rule 59”), the Court notes that no

 judgment has entered on Sann’s claims against Lucas, therefore, the Rule 59 does not apply. Rather,

 the matter raised by Lucas is in the nature of a motion to reconsider a pre-judgment interlocutory

 decision. Such decisions may be reconsidered at any time. See Matter of 949 Erie Street, Racine,

 Wis., 824 F.2d 538, 541 (7th Cir. 1987); Cameo Convalescent Ctr., Inc. v. Percy, 800 F.2d 108, 110

 (7th Cir. 1986). Under the “law of the case” doctrine, a Court may refuse to consider that which has

 already been decided, see Cameo Convalescent Ctr., 800 F.2d at 110, however, the Court has “the

 discretion to make a different determination of any matters that have not been taken to judgment or

 determined on appeal.” Id. Here, the Court has determined that it erred when it determined that it

 could substitute its own expert opinion for that of a party.

        After reconsideration, the Court concludes that without expert evidence on the standard of

 care for an attorney, Sann cannot succeed in proving that Lucas has breached the standard of care

 to establish his claim of malpractice. Therefore, Lucas is entitled to judgment on that issue as a

 matter of law.



                                           CONCLUSION

        For the foregoing reasons, respondent/intervenor/counterclaim plaintiff’s, Steven V. Sann,

 Motion for Leave of Court to file his Response in Opposition to Lucas’ Motion to Dismiss and/or

 for Judgment as a Matter of Law (Docket No. 364) one day late is GRANTED.


                                                   4
Case 1:04-cv-01815-LJM-JMS          Document 365       Filed 12/20/07     Page 5 of 6 PageID #:
                                           4430



 Respondent/intervenor/counterclaim plaintiff’s, Steven V. Sann, Response in Opposition to Lucas’

 Motion to Dismiss and/or for Judgment as a Matter of Law, which is Exhibit A to Docket Number

 364, is deemed filed on December 19, 2007. Respondent/intervenor/counterclaim defendant’s, Neil

 Lucas, Motion for Summary Ruling on Motion for Involuntary Dismissal and/or Judgment as a

 Matter of Law (Docket No. 362) is DENIED. Respondent/intervenor/counterclaim defendant’s,

 Neil Lucas, Motion for Involuntary Dismissal and/or Judgment as a Matter of Law (Docket No. 347)

 is GRANTED. Count I of respondent/intervenor/counterclaim plaintiff’s, Steven V. Sann, Verified

 Intervenor’s Individual and Derivative Complaint is hereby DISMISSED with prejudice.

        IT IS SO ORDERED this 20th day of December, 2007.



                                                    _________________________________
                                                ___________________________________
                                                    LARRY
                                                LARRY        J. McKINNEY,
                                                        J. McKINNEY,           CHIEF
                                                                           CHIEF     JUDGE
                                                                                  JUDGE
                                                    United
                                                United     States
                                                       States     District
                                                              District CourtCourt
                                                    Southern  District of Indiana
                                                Southern District of Indiana




 Distribution attached.


                                                5
Case 1:04-cv-01815-LJM-JMS        Document 365     Filed 12/20/07    Page 6 of 6 PageID #:
                                         4431



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                                           6
